Case 23-12825-MBK        Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41      Desc Main
                                   Document      Page 1 of 12



   MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC
   Clayton L. Thompson, Esq.
   cthompson@mrhfmlaw.com
   Suzanne M. Ratcliffe, Esq.
   sratcliffe@mrhfmlaw.com
   150 West 30th Street, Suite 201
   New York, NY 10001
   Tel: (800) 358-5922

   Counsel for Mesothelioma Plaintiff Katherine Tollefson
   and Certain Mesothelioma Plaintiffs

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

  In re:                                        )
                                                )   Chapter 11
           LTL MANAGEMENT LLC,                  )
                                                )   Case: 23-12825-MBK
           Debtor.                              )

                      MRHFM’S JOINDER TO THE TCC’S MOTION
                     TO DE-DESIGNATE EXHIBIT A OF TERM SHEET

           MRHFM joins the TCC’s motion to make Exhibit A of the Term Sheet public (Dkt.

 440). Exhibit A isn’t confidential, it’s terrible. And that’s why Johnson & Johnson is so

 ashamed of it. Debtor’s Counsel said as much: “We view that public disclosure of [Exhibit

 A] at this point as potentially damaging to further negotiations at this point in time.” See

 TCC Mot., ¶ 2 (Dkt. 440-1). Right. If the sick people with real claims—those that have

 value in the tort system—saw Exhibit A, the “damage” to negotiations would be plaintiffs

 rejecting it and the public asking questions J&J doesn’t have good answers for.



                                               1
Case 23-12825-MBK          Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41                Desc Main
                                     Document      Page 2 of 12



         Johnson & Johnson issues daily press releases attacking the lawyers who dare to

 protect their clients’ rights to full state law remedies. See Ex. 1, Appendix of Johnson &

 Johnson Statements (“J&J Statements”). Exhibit A to the Term Sheet does indeed provide

 a “clear and complete explanation”—see J&J Statement, Apr. 24th—of what each victim

 would receive based on disease type, age, exposure history given, and several

 “reduction” factors.1 That’s the problem. Exhibit A reveals that the only people

 benefitting from this fraud are J&J, its shareholders, bankruptcy professionals, and a

 handful of collaborating lawyers (the Ad Hoc Committee of Supporting Counsel).

         Living in the United States right now are thousands of people already exposed to

 asbestos from Baby Powder who will develop mesothelioma or ovarian cancer in the

 future. FCR Randi Ellis thinks she knows better than the Founding Fathers, state and

 federal trial judges, juries, and the victims themselves about the “best” way for the $420

 billion tortfeasor2—which pays Ms. Ellis $1,000/hour—to compensate the people the

 tortfeasor lied to and poisoned to death. Future victims (even though unaware of their

 diagnosis) should have access to the deal Ms. Ellis supported and that J&J purports to

 bind them to, even if they don’t realize it yet. The public must see Exhibit A.




 1The Term Sheet, including Exhibit A, was admi8ed as Exhibit 4 at the preliminary injunction hearing.
 2Kenvue was spun-oﬀ as an independent publicly traded company last week. It is presently valued at $50
 billion. See J&J’s consumer-health spinoﬀ Kenvue jumps 22% in public market debut, Annika Kim Constantino,
 CNBC, May 4, 2023, available at: h@ps://www.cnbc.com/2023/05/04/jj-kenvue-ipo-kvue-starts-trading-on-
 nyse.html

                                                     2
Case 23-12825-MBK      Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41      Desc Main
                                 Document      Page 3 of 12



       LTL’s hypocrisy on confidentiality is nothing new. The Debtor says in its Cross-

 Motion for a Protective Order that it “has turned over thousands of documents and will

 turn over many more that it otherwise would have kept private.” See Dkt. 491-1, ¶ 19.

 LTL says documents “that do not meet the definition of confidential information

 thereunder still are private documents that ordinarily would not be disclosed to the

 public.” Id. Exactly. Johnson & Johnson could have kept all this stuff confidential. But

 instead, the Company filed two bad faith bankruptcies and put all of it at issue. All non-

 confidential relevant documents can and will be shared with the public. And the media.

       The Debtor rehashes its long-ago debunked theory that documents “marked

 confidential [ ] were disclosed to the media” by plaintiffs’ lawyers in LTL1. See Debtor

 Cross-Mot., ¶ 20. The Debtor is lying. Again. See LTL1, Dkts. 1385 (Debtor Letter) & 1388

 (TCC1 Letter). After much hullabaloo in February 2022, it turned out that no confidential

 documents were shared with the media in violation of this Court’s orders, but rather than

 admit its mistake, the Debtor instead expressed concern about “non-public” documents

 being shared with the press. “Non-public” is J&J-speak for “bad for us.”

       A common theme from J&J in LTL2 are PR missives like the below:

       This motion is yet another desperate attempt by a small group of plaintiff’s
       law firms—whose financial interests conflict with, diverge from and
       contravene those of their clients—to deprive all claimants of the right to
       vote and decide for themselves whether to accept the proposed plan, which
       a growing and significant majority of claimants already support. See J&J
       Statement, May 12th.


                                             3
Case 23-12825-MBK         Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41             Desc Main
                                    Document      Page 4 of 12




           Plaintiff lawyers are promulgating their unfounded theories for their own
           financial interest and are doing a disservice to their clients by leading them
           to believe that their cancer was caused by our cosmetic talc. See J&J
           Statement, May 7th.

           The Bankruptcy Court correctly recognized [on Valadez lift stay motion]
           that no other claimant has moved to have the stay lifted to pursue claims in
           the tort system, but rather have elected to avail themselves of the
           bankruptcy process. We look forward to finalization and vote by all
           claimants on the reorganization plan. See J&J Statement, May 3rd.

           Opposition to the plan is driven by firms who have a profit motive to
           remain in the tort system that is at odds with the interests of their clients.
           When presented with a clear and complete explanation and the opportunity
           to make an informed choice, we firmly believe the claimants will approve
           the plan. See J&J Statement, April 24th.

           Unlike J&J, MRHFM believes in the First Amendment, so the Company can say

 whatever it wants. But Johnson & Johnson can’t boast about its bogus plan to the public

 and then keep the plan confidential.3 The statements above reveal, yet again, J&J’s sword

 and shield approach to confidentiality. Justice requires Exhibit A to be published for all

 to see.

 Respectfully submitted:

 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC




 3While MRHFM’s plaintiﬀs have argued many things in these two bad faith bankruptcies, no one watching
 these proceedings—as Mr. Erik Haas has in person, in the courtroom—could honestly describe them as
 “availing” themselves of “the bankruptcy process.”

                                                  4
Case 23-12825-MBK    Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41   Desc Main
                               Document      Page 5 of 12




 __________________________
 Clayton L. Thompson, Esq.
 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC
 150 W. 30th Street, Suite 201
 New York, NY 10001
 (800) 358-5922
 cthompson@mrhmflaw.com




                                          5
Case 23-12825-MBK   Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41   Desc Main
                              Document      Page 6 of 12




                    EXHIBIT 1
     Case 23-12825-MBK    Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41        Desc Main
                                    Document      Page 7 of 12
                      Appendix of Johnson & Johnson Statements
No.        Date                                   Statement
13     May 12, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                       Johnson & Johnson:

                       This motion is yet another desperate attempt by a small group of plaintiff’s
                       law firms—whose financial interests conflict with, diverge from and
                       contravene those of their clients—to deprive all claimants of the right to
                       vote and decide for themselves whether to accept the proposed plan, which
                       a growing and significant majority of claimants already support. The court
                       rulings this week cleared the way for the filing of the plan in the near term,
                       and we will vigorously oppose the effort to derail that filing with this
                       baseless and premature motion.i
12     May 9, 2023     Statement from Erik Haas, Worldwide Vice President of Litigation,
                       Johnson & Johnson:

                       The Third Circuit properly denied a request by a small number of law
                       firms, which represent the minority of claimants, attempting to prevent all
                       claimants from having the opportunity to vote on the proposed resolution
                       plan. As the Third Circuit stated, the Bankruptcy Court has established an
                       “expedited” process to resolve this matter. We look forward to filing our
                       plan shortly and to allowing claimants the opportunity to vote.ii
11     May 7, 2023     We empathize with anyone suffering from cancer and understand that
                       people are searching for answers. We believe science provides those
                       answers, with evidence from clinical research and over 40 years of studies
                       by independent medical experts around the world supporting our position
                       that our cosmetic talc is safe, does not contain asbestos and does not cause
                       cancer. Plaintiff lawyers are promulgating their unfounded theories for
                       their own financial interest and are doing a disservice to their clients by
                       leading them to believe that their cancer was caused by our cosmetic talc.

                       While the talc-related claims against the Company have no merit, we
                       recognize that resolving these cases in the tort system would take decades,
                       with most claimants never receiving any compensation. Resolving this
                       matter through the proposed reorganization plan in Bankruptcy Court is
                       both more equitable and more efficient and allows claimants to be
                       compensated in a timely manner. It is also a legitimate and appropriate use
                       of the bankruptcy process. Our resolution proposal has the support of the
                       vast majority of claimants, and we look forward to letting all the claimants
                       vote on the proposed plan.iii




                                                1
    Case 23-12825-MBK   Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41       Desc Main
                                  Document      Page 8 of 12
                    Appendix of Johnson & Johnson Statements

No.       Date                                  Statement
10    May 3, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The Company deeply sympathizes with anyone suffering from cancer and
                     understands that they are looking for answers, however, the science
                     doesn’t support that the exceedingly rare form of mesothelioma at issue in
                     Mr. Valadez’s case is connected to talc exposure. We stand ready to try this
                     matter, where we will present evidence that scientific research, clinical
                     evidence and over 40 years of studies by independent medical experts
                     around the world continue to support that our cosmetic talc is safe, does
                     not contain asbestos and does not cause cancer. The Company has won the
                     majority of talc cases brought against it since these lawsuits began despite
                     the misinformation campaigns driven by plaintiff lawyers.

                     The Bankruptcy Court correctly recognized that no other claimant has
                     moved to have the stay lifted to pursue claims in the tort system, but rather
                     have elected to avail themselves of the bankruptcy process. We look
                     forward to finalization and vote by all claimants on the reorganization
                     plan.iv
9     May 2, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The Trustee’s motion repeats the positions of the small minority of law
                     firms that oppose the plan, whose counsel testified that they entered into a
                     common interest fee agreement with the agency. We consider more
                     compelling the views of the vast majority of the claimants’ law firms who
                     support the proposed reorganization plan.

                     We are engaging in a legitimate and appropriate use of the bankruptcy
                     process, and look forward to letting all the claimants vote on the proposed
                     plan, which presents an equitable, efficient and complete resolution.v
8     May 2, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The filing is a desperate and legally deficient attempt by a small number of
                     law firms to try to prevent claimants from voting on the resolution plan - a
                     plan the vast and growing majority of claimants support. The law firms
                     behind this filing have financial interests that conflict with, diverge from




                                              2
    Case 23-12825-MBK      Doc 507     Filed 05/14/23 Entered 05/14/23 21:57:41        Desc Main
                                     Document      Page 9 of 12
                       Appendix of Johnson & Johnson Statements

No.        Date                                         Statement
                        and contravene those of their clients. We will be submitting a response to
                        the appellate court.vi
7     April 27, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        As unequivocally and unambiguously stated, Johnson & Johnson has
                        agreed to retain all the talc-related liabilities—and indemnify Kenvue for
                        any and all costs—arising from litigation in the United States and Canada.
                        Any suggestion to the contrary is false and misleading.vii
6     April 24, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The motion is nothing more than a desperate attempt to prevent the tens of
                        thousands of claimants from deciding for themselves and vote on a
                        resolution plan.

                        As demonstrated in the recent hearings, there is significant support for the
                        plan, including from major plaintiffs’ law firms representing the vast
                        majority of the claimants in this litigation, as well as lawyers who
                        previously led the opposition to the first bankruptcy.

                        Opposition to the plan is driven by firms who have a profit motive to
                        remain in the tort system that is at odds with the interests of their clients.
                        When presented with a clear and complete explanation and the
                        opportunity to make an informed choice, we firmly believe the claimants
                        will approve the plan.viii
5     April 20, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The decision is a win for claimants, who are now one step closer to being
                        able to vote for themselves on whether to accept the proposed resolution.
                        We are confident the vote will overwhelmingly support the proposal, as it
                        presents the only equitable path forward. The proposal commits $8.9
                        billion to claimants, whose claims otherwise would languish in the tort
                        system for decades and, based upon the trial record to date, likely would
                        not receive a single dollar. Major plaintiffs’ law firms representing the vast
                        majority of the claimants in this litigation support the plan, including
                        lawyers who previously led the opposition to the first bankruptcy filing.




                                                 3
    Case 23-12825-MBK      Doc 507 Filed 05/14/23 Entered 05/14/23 21:57:41          Desc Main
                                  Document    Page 10 of 12
                       Appendix of Johnson & Johnson Statements

No.        Date                                         Statement
                        Despite this support, we expect a few plaintiffs’ law firms will continue to
                        oppose and seek to delay this plan. The evidence presented to the court this
                        week shows that these firms have a profit motive to remain in the tort
                        system that is at odds with the interests of their clients. When presented
                        with a clear and complete explanation and the opportunity to make an
                        informed choice, we firmly believe the claimants will approve the plan.ix
4     April 18, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The evidence presented today re-confirmed that plaintiffs’ lawyers
                        representing over 60,000 claimants already support the $8.9 billion
                        resolution plan, including lawyers who had previously opposed the first
                        bankruptcy filing. We remain confident that thousands more will join once
                        this plan is allowed to be put out for a vote. Additionally, counsel in
                        support of the resolution plan representing over 15,000 of the claimants
                        echoed the desire to present the court with a resolution plan by May 15,
                        2023.

                        Opposition to our plan was presented today from a few plaintiffs’ lawyers
                        who have repeatedly stated they have no interest in a settlement under any
                        circumstance and whose business model would be threatened by a
                        complete resolution. That model is premised on large, aberrant verdicts
                        where most claimants get nothing.

                        The only equitable path forward is for claimants to be allowed to decide for
                        themselves and to let them vote yes or no on the reorganization plan.x
3     April 11, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        Progress toward our reorganization plan continues with Bankruptcy Court
                        Judge Michael Kaplan's denial today of plaintiff law firms' request to
                        dismiss the case. We look forward to proceeding with the bankruptcy and
                        moving toward a vote on a final reorganization plan.xi
2     April 4, 2023     Johnson & Johnson (NYSE:JNJ) (the Company) today announced that its
                        subsidiary LTL Management LLC (LTL) has re-filed for voluntary Chapter
                        11 bankruptcy protection to obtain approval of a reorganization plan that
                        will equitably and efficiently resolve all claims arising from cosmetic talc
                        litigation against the Company and its affiliates in North America. To that
                        end, the Company has agreed to contribute up to a present value of $8.9


                                                 4
    Case 23-12825-MBK         Doc 507 Filed 05/14/23 Entered 05/14/23 21:57:41                 Desc Main
                                     Document    Page 11 of 12
                         Appendix of Johnson & Johnson Statements

No.           Date                                         Statement
                           billion, payable over 25 years, to resolve all the current and future talc
                           claims, which is an increase of $6.9 billion over the $2 billion previously
                           committed in connection with LTL’s initial bankruptcy filing in October
                           2021. LTL also has secured commitments from over 60,000 current
                           claimants to support a global resolution on these terms.xii
1         March 22,        Our review petition raised significant concerns with the Third Circuit’s
          2023             decision, both in how it applied the law to the facts of Judge Kaplan’s
                           ruling, as well as the impracticality of the Third Circuit’s new legal
                           standard. We will immediately move for a stay of this opinion so we can
                           seek review directly from the U.S. Supreme Court.

                           Today’s ruling ignores the facts established during the Bankruptcy Court’s
                           trial regarding the appropriateness of LTL Management’s (LTL) formation
                           and filing, as well as the Company’s intention to efficiently resolve the
                           cosmetic talc litigation for the benefit of all parties, including current and
                           future claimants.

                           We continue to stand behind the safety of Johnson’s Baby Powder, which
                           is safe, does not contain asbestos and does not cause cancer. xiii


      i https://www.factsabouttalc.com/_document/statement-on-tcc-standing-motion-to-dismiss?id=00000188-
      1125-d1d3-adde-5925f0290000
      ii https://www.factsabouttalc.com/_document/statement-on-tcc-mandamus-denial?id=00000188-0209-

      d1d3-adde-4a0900490000
      iii https://www.factsabouttalc.com/_document/johnson-johnson-statement-on-cnn-segment?id=00000187-

      f925-d1d3-add7-f925a0b10000
      iv https://www.factsabouttalc.com/_document/statement-on-the-valadez-case-stay-lifted?id=00000187-

      e2f3-d2f1-adcf-e7f339780000
      v https://www.factsabouttalc.com/_document/statement-on-united-states-trustee-motion-to-

      dismiss?id=00000187-dd25-d1d3-add7-dd2596bf0000
      vi https://www.factsabouttalc.com/_document/statement-on-tcc-mandamus-petition?id=00000187-dc60-

      d1d3-add7-dc6058eb0000
      vii https://www.factsabouttalc.com/_document/statement-on-talc-related-liability-and-

      kenvue?id=00000187-c2d9-d2f1-adcf-e7f9c8170000
      viii https://www.factsabouttalc.com/_document/statement-on-tcc-motion-to-dismiss?id=00000187-b47f-

      d1d3-add7-fc7f65a00000
      ix https://www.factsabouttalc.com/_document/statement-on-bankruptcy-court-ruling?id=00000187-9f60-

      d1d3-add7-df602e5d0000
      x https://www.factsabouttalc.com/_document/april-18-statement-on-bankruptcy-court-hearing-on-

      ltl?id=00000187-96d0-d1d3-add7-ded0a8830000
      xi https://www.factsabouttalc.com/_document/statement-on-bankruptcy-court-ruling-allowing-ltls-

      voluntary-chapter-11-re-filing-to-proceed?id=00000187-71e0-d1d3-add7-79e0266c0000


                                                       5
Case 23-12825-MBK         Doc 507 Filed 05/14/23 Entered 05/14/23 21:57:41                    Desc Main
                                 Document    Page 12 of 12
                     Appendix of Johnson & Johnson Statements


 xii https://www.factsabouttalc.com/_document/johnson-johnson-subsidiary-ltl-management-llc-ltl-re-files-
 for-voluntary-chapter-11-to-equitably-resolve-all-current-and-future-talc-claims?id=00000187-4dec-d1d3-
 add7-4decec340000
 xiii https://www.factsabouttalc.com/_document/johnson-johnson-statement-on-third-circuit-review-

 petition?id=00000187-09c4-deef-a1df-adf4a9de0000




                                                    6
